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17
                                 UNITED STATES DISTRICT COURT
18
               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
19
     CHASOM BROWN, et al., individually and       Case No. 4:20-cv-03664-YGR-SVK
20   on behalf of all similarly situated,
                                                  GOOGLE’S REPLY IN SUPPORT OF
21
                   Plaintiffs,                    MOTION FOR SUMMARY JUDGMENT
22
                   vs.                            Hon. Yvonne Gonzalez Rogers
23                                                Courtroom: 1 – 4th Floor
     GOOGLE LLC,                                  Date:        May 12, 2023
24                                                Time:        1:00 p.m.
                   Defendant.
25

26

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 1 I.       INTRODUCTION
 2          Plaintiffs identify no evidence supporting their core claim: that Google “represented and by
 3 contract promised not to collect and use private browsing information while users were visiting non-

 4 Google websites and signed out of their Google accounts.” SUF 1. The absence of that promise is

 5 made plain by the at-issue agreements and disclosures. Nor is there any genuine dispute that Google

 6 made no other promises or statements that might negate Plaintiffs’ admitted consent to the data

 7 collection described in Google’s Privacy Policy. SUF 4, 13–14. To the contrary, the disclosures

 8 clearly explain that PBM provides privacy in certain ways and not others, and the record confirms

 9 that PBM provides privacy exactly as Google described. The Court should grant summary judgment.

10          Recognizing that the cited disclosures do not make the promise alleged, Plaintiffs devote the
11 lion’s share of their opposition to arguing that the Court is legally required to accept Plaintiffs’

12 position because Judge Koh’s motion-to-dismiss decision is “law of the case.” Opp. 5–7, 24. Not so.

13 As the Court correctly explained when the Calhoun Plaintiffs made the same argument, “[a] ruling

14 by a court for purposes of a motion to dismiss does not bind the court on a subsequent motion for

15 summary judgment as the standards are entirely different: one considers plausibility, the other, the

16 actual factual record.”1 Calhoun v. Google, 2022 WL 18107184, at *12 n.8 (N.D. Cal. Dec. 12,

17 2022). The Court should reject the argument here, too. Puffery is no substitute for proof.

18          Taking another page from the Calhoun Plaintiffs’ playbook, Plaintiffs selectively quote
19 internal Google emails and documents—many of which are unrelated to the at-issue disclosures or

20 data collection. The cited documents relating to Incognito were largely written by a single Google

21 employee concerned about the Incognito name and icon. See Resp. to Plaintiffs’ Proposed Additional

22 Facts (“PAF”) at PAF 9, 12. But even these internal challenges characterize Google’s Incognito

23
     1
24     Plaintiffs’ reliance (Opp. 6) on U.S. v. Alexander, 106 F.3d 874, 876 (9th Cir. 1997) is misplaced.
     Alexander involved an evidentiary ruling in a criminal case submitted to the jury. The Ninth Circuit
25   has since clarified that “Alexander applies only to cases in which a submission to the jury separates
     the two decisions”; by contrast, a district court is “free to reconsider its own prior ruling” where, as
26   here, “the district court had neither been divested of jurisdiction nor submitted this case to the jury.”
27   Robins v. Spokeo, Inc., 742 F.3d 409, 411 (9th Cir. 2014), vacated and remanded on other grounds,
     578 U.S. 330 (2016); U.S. v. Smith, 389 F.3d 944, 950 (9th Cir. 2004) (distinguishing Alexander and
28   explaining that “[t]he law of the case doctrine is ‘wholly inapposite’ to [the] circumstances” here).

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 1 disclosures as “admirably clear, concise, and accurate.” Id. And those documents show, at most, that

 2 Google engaged in robust debate on how best to convey Incognito’s privacy-enhancing functionality

 3 to its large and diverse user base. See, e.g., PAF 7, 21. Regardless, Plaintiffs’ cherry-picking and

 4 mischaracterizations of internal documents cannot save their claims because extrinsic evidence is

 5 irrelevant to the legal questions of whether Plaintiffs consented to the data collection (they did), and

 6 whether Google promised “not to collect or use private browsing information” (it did not).

 7 II.      ARGUMENT
 8          A.      Plaintiffs and Class Members Lack Article III Standing

 9          Discovery has disproven Plaintiffs’ core theory—that Google built “cradle-to-grave profiles”

10 linking users’ PBM data with their Google Accounts or identities. FAC ¶¶ 54, 69, 91–112. Plaintiffs

11 admit Google does not do this, now arguing only that it would be “trivial” for it to do so. SUF 56.
                                                      2
12 But even if such linking were trivial—and it is not —Plaintiffs do not claim that Google does it.

13 SUF 66. That is not terra firma for standing. The issue boils down to whether internet users suffer

14 concrete injuries when web-service providers receive anonymous information indicating that an

15 unidentified user visited a particular site or sites. See Mot. § II.A. They do not.

16          Standing for browsing data privacy claims may exist where the data is associated with users’

17 identities. See In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 598 (9th Cir. 2020)

18 (finding privacy interest in browsing data that Facebook “correlat[ed with] . . . users’ personal

19 Facebook profiles”); cf. Campbell v. Facebook, Inc., 951 F.3d 1106, 1119 (9th Cir. 2020) (finding

20 privacy interest in “individual private messages”). By contrast, the Ninth Circuit—and this Court—

21 have found standing lacking where the information is “non-individually identifiable.” Cahen v.

22 Toyota Motor, 717 F. App’x 720 (9th Cir. 2017); I.C. v. Zynga, Inc., 600 F. Supp. 3d 1034, 1049
                                          3
23 (N.D. Cal. 2022) (Gonzalez Rogers, J.). Simply stated, users are not “injured” merely because

24
   2
     In the lengthy discovery process overseen by Magistrate Judge van Keulen and the Special Master,
25 Google was not able to identify Plaintiffs’ PBM data, other than in a controlled experiment that
   could not be replicated without the same knowledge, consent, and active participation of the user
26 that Plaintiffs provided.
   3
27 Plaintiffs attempt to distinguish I.C. on the basis that it involved an “accidental data breach of non-
   private data” (Opp. 3 n.1), but the accidental nature of the breach is irrelevant because it goes to the
28 defendant’s intent, not the plaintiff’s injury.
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 1 anonymous browsing data they generated during PBM sessions is collected or used.

 2          Plaintiffs’ assertion of statutory claims does not change the conclusion. See Opp. 3. Standing
 3 is not conferred automatically merely because a statute “arguably creates a ‘substantive right.’”

 4 Bassett v. ABM Parking Services, Inc., 883 F.3d 776 (9th Cir. 2018) (affirming dismissal of FCRA

 5 claim where there was no allegation that private information was disclosed). Plaintiffs still must

 6 “demonstrate how the ‘specific’ violation of [a statute] . . . actually harmed [them] or ‘present[ed] a

 7 material risk of harm.’” Dutta v. State Farm Mut. Auto. Ins. Co., 895 F3d 1166, 1174 (9th Cir. 2018)

 8 (affirming grant of summary judgment for lack of standing). They fail to do so.

 9          Nor can the mere assertion of a breach of contract claim confer standing where there is no
10 concrete injury. See I.C., 600 F. Supp. 3d at 1045, 1054–55; Svenson v. Google Inc., 2016 WL

11 8943301, at *10 (N.D. Cal. Dec. 21, 2016) (“a claim for nominal damages is insufficient to establish

12 injury in fact for purposes of Article III”); Opperman v. Path, Inc., 84 F. Supp. 3d 962, 990–91

13 (N.D. Cal. 2015) (Cal. Civ. Code “Section 3360 sets forth the rule that a plaintiff who has suffered

14 an injury, but whose damages are speculative, is entitled to nominal damages . . . . But the statute

15 does not relieve the plaintiff of proving injury.”).

16          Alternatively, Plaintiffs argue for standing because “a jury could find that private browsing
17 data is identifying.” Opp. 3 (emphasis added). That is baseless. At most, the cited documents show

18 that Google is capable of identifying PBM users—if it were to violate the policies and technical

19 safeguards it put in place to prevent that from occurring. Plaintiffs’ related argument (Opp. 4) that a

20 jury could find that PBM data is identifying simply because data from signed-out users (including

21 PBM users) may be stored “alongside” (but is not linked to) data from signed-in users, is also wrong.

22 See PAF 4. That data from identified and unidentified users may be stored in the same location is

23 irrelevant. It is undisputed that the signed-out and signed-in data are not linked.4 This is plain from

24 both the extensive record and absence of any evidence showing Google linked data from Plaintiffs’

25
   4
     The rare exception, as Plaintiffs point out (SUF 63), is when Google is attempting to prevent fraud
26 or criminal activity. But the policy document Plaintiffs cite for this point makes clear that the

27 exception requires multiple levels of approval and may be invoked only in specific circumstances.
   Broome Ex. 71. Plaintiffs fail to identify any evidence that signed-out PBM data generated by them
28 or any Class Members was ever identified pursuant to this exception.
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 1 PBM sessions to their Accounts, identities, or signed-in data. SUF 47–57, 59–60, 63–67.

 2          Finally, Plaintiffs assert that, under Facebook Tracking, they have standing because they
 3 purportedly retain a “stake” in Google’s “unjust enrichment.” But the circumstances that gave rise

 4 to a “stake” in Facebook Tracking were “cradle-to-grave profiles” of “personally identifiable

 5 browsing history,” 956 F.3d at 598–99, not the kind of orphaned islands of unidentified data here.

 6          B.      Each Claim Fails Because Plaintiffs and Class Members Expressly Consented to
                    Google’s Collection and Use of the Data
 7
            It is undisputed that Plaintiffs and Class Members are Google Account holders who each
 8
     consented to Google’s Privacy Policy when they created their Accounts. SUF 3–6. As this Court has
 9
     held, the Privacy Policy discloses the collection and use of data that Plaintiffs challenge—i.e., the
10
     data Google receives and uses for advertising, analytics, and other services when users visit a website
11
     using Google’s services. Calhoun, 2022 WL 18107184, at *13–17. There is no ambiguity in these
12
     sections of the Privacy Policy. See id. The Court also found that the Privacy Policy applies to the
13
     challenged data collection irrespective of which browser the user chooses to employ. Id. at *10. The
14
     only remaining question in the consent analysis is whether Google represented that a particular
15
     browser mode—PBM—would prevent the data collection, thereby negating consent. The record
16
     shows it did not. Plaintiffs’ repeated refrain that Google “represented [it] would not collect and use
17
     private browsing information” is pure ipse dixit.
18
            Plaintiffs’ efforts to distinguish Calhoun (Opp. 6) fail. The sections of the Privacy Policy
19
     describing the data Google receives from its services—via the same industry-standard HTTP
20
     requests at issue in Calhoun—do so in terms that necessarily are both browser- and mode-agnostic.5
21
     See Calhoun, 2022 WL 18107184, at *9–10; SUF 11, 18, 20. Indeed, prior to May 2018—when
22
     Plaintiffs consented to the Privacy Policy (SUF 5, 14)—it did not mention any specific browser
23
     modes. SUF 19. Thereafter, the Privacy Policy briefly references Incognito as a “private” mode, but
24
     nowhere suggests it prevents the data collection that it goes on to describe in plain language.
25
     5
26   Contrary to Plaintiffs’ assertion that Calhoun is distinguishable because it involved only “signed-
   in, regular browsing data,” Opp. 6, Calhoun also involved “signed-out” data received from users in
27 Chrome’s Basic and Guest modes. Calhoun v. Google, LLC, No. 20-CV-5146, Dkt. 429 at 2, 17.
   Regardless of mode, Google treats all signed-out data as “unauthenticated”; it is not categorized by
28 whether the user is in PBM or another signed-out mode. See SUF 49.
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 1           As this Court correctly explained, “having Google’s disclosures of the at-issue data in
 2 browser-agnostic terms, rather than by specific-browser, enables Google users, irrespective of the

 3 browser used, to know how it is that Google collects and utilizes one’s data.” Calhoun, 2022 WL

 4 18107184, at *10 n.7. The same reasoning applies to browser modes. See id. (noting general data

 5 policies are important because browser functionality and settings vary and change over time).

 6 Irrespective of browser mode, the categories of data Google receives and the purposes for which it

 7 is used as described in the Privacy Policy remain the same.6 SUF 7, 9, 11, 14.

 8           In the face of their express consent to the data collection detailed in the Privacy Policy,
 9 Plaintiffs argue for an unworkably complex consent framework at odds with common sense and

10 relevant authority. Opp. 9. Plaintiffs cite no case holding that, to obtain consent to data collection,

11 companies must enumerate every mode, setting, or circumstance impacting—or not impacting—that

12 data collection. This Court and the Ninth Circuit have both rejected this approach. See Calhoun,

13 2022 WL 18107184, at *13 (rejecting plaintiffs’ argument that Google did not “explicitly notify”

14 Chrome users that the data would be collected even if they did not use Chrome’s sync mode); Smith

15 v. Facebook, Inc., 745 F. App’x 8, 9 (9th Cir. 2018) (rejecting plaintiffs’ argument that, “though

16 they gave general consent to Facebook’s data tracking and collection practices[,] they did not consent

17 to collection of health related data due to its ‘qualitatively different’ and ‘sensitive’ nature”). Even

18 under Plaintiffs’ unworkable standard, describing the data collection in mode-specific terms would

19 make little sense because Incognito does not affect the at-issue transmissions. Fact 9.

20           Because Plaintiffs’ general consent to the data collection is not genuinely disputed, and they
21 fail to identify any Google statement negating their consent, summary judgment should be granted.

22           C.     Plaintiffs’ and the Class’s Claims Should Be Dismissed for Additional Reasons
23                  1.      Breach of Contract (Count 6)
24                          (a)     The Contract Does Not Make the Allegedly Breached Promise
25           “To claim breach of a written, integrated contract, a plaintiff must identify ‘the specific
26   6
    As explained in the Motion, the key differences between Incognito and other Chrome modes (as
27 Google   explains elsewhere (see SUF 50–54, 57, 59)) are that Incognito automatically signs users out
   of their Google Accounts, blocks the sharing of existing cookies, and deletes new cookies, browsing
28 history, and information entered in forms from the browser when the user closes the session.
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 1 provisions’ imposing the obligation the defendant allegedly breached.” EM General, LLC v.

 2 Electronic Commerce, LLC, 2021 WL 6618660, at *3 (N.D. Cal. Mar. 17, 2021) (Gonzalez Rogers,

 3 J.) (citing cases); Ewert v. eBay, Inc., 602 F. App’x 357, 359 (9th Cir. 2015) (affirming dismissal of

 4 contract claim because plaintiffs “failed to identify a provision in the User Agreement that either

 5 expressly prohibited [the challenged action] or created an exception to the general rule set forth in

 6 the User Agreement that [defendant] could [take the challenged action]”). Plaintiffs fail to identify

 7 a specific contractual provision “promising” “that Google would not collect and use private

 8 browsing information.”7 Instead, they stitch together a patchwork of sentence fragments from

 9 various documents and ask the Court to imply that promise. The Court should deny their request.

10 Indeed, even if such a promise were reasonably implied from the documents Plaintiffs cite, “‘implicit

11 duties’ are insufficient to state a cause of action for breach of contract.” EM General, 2021 WL

12 6618660, at *3; see also Facebook Tracking, 956 F.3d at 610 (affirming dismissal of contract claim

13 because plaintiffs failed to identify “an explicit promise not to track logged out users”); In re Anthem,

14 Inc. Data Breach Litig., 162 F. Supp. 3d 953, 982-83 (N.D. Cal. 2016) (dismissing contract claim

15 based on alleged implicit duties). This alone defeats the contract claim as a matter of law.

16           Lacking a specific provision upon which to base their contract claim, Plaintiffs invite error
17 by asking the Court to find the alleged contract is “reasonably susceptible” to their interpretation.

18 Opp. 7. The Court could imply the promise alleged from the cited documents only by conflating

19 distinctly defined terms (i.e. “Chrome” and “Google”), inserting words that do not appear, and

20 contorting Google’s statements to mean something obviously not intended. That is the opposite of

21 how Courts interpret contracts under California law.8

22   7
       In fact, several of the documents on which Plaintiffs rely contain no reference at all to Incognito
23   or PBM. These include Google’s general Terms of Service (“TOS”), the Chrome and Chrome OS
     Additional TOS, and the pre-May 2018 Privacy Policy. See SUF 15–17, 19.
     8
24     Plaintiffs ask the Court to violate numerous bedrock principles of California contract law: (1) the
     contract must actually “express the obligation sued upon,” Anthem, 162 F. Supp. 3d at 978 (quoting
25   Murphy v. Hartford Accident & Indem. Co., 177 Cal. App. 2d 539 (1960)); Facebook Tracking, 956
     F.3d at 610 (allegedly breached promise must be “explicit”); (2) “‘implicit duties’ are insufficient to
26   state a cause of action for breach of contract,” EM General, LLC, 2021 WL 6618660, at *3; (3) a
     “simple failure to disclose a practice doesn’t constitute breach of contract,” In re Facebook, Inc.
27   Consumer Priv. User Profile Litig., 402 F. Supp. 3d 767, 801 (N.D. Cal. 2019); and (4) “when courts
     construe an instrument, a judge is ‘not to insert what has been omitted, or to omit what has been
28   inserted,’” Edwards v. Arthur Andersen LLP, 44 Cal. 4th 937, 954 (2008).
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 1           Plaintiffs’ substantial reliance on the post-May 2018 Privacy Policy is a case in point.
 2 Plaintiffs assert that the Privacy Policy’s description of Incognito as a private mode is a binding,

 3 contractual obligation that PBM provides absolute privacy from Google. But it does not say that.

 4 What that short, introductory paragraph does say—in plain language—is that Chrome’s Incognito

 5 mode is one of numerous ways that users can manage their privacy when using Google services.

 6 SUF 20. And that is true—as even Plaintiffs’ own privacy expert admits. SUF 75–81. Plaintiffs’

 7 purposefully myopic reading of Google’s general disclosures9 is belied by the rest of the same

 8 paragraph where the Privacy Policy describes other examples of privacy-enhancing functionality

 9 that nevertheless require sending information to Google. Ex. 100 (“manage your privacy” by

10 “sign[ing] up for a Google Account if you want to . . . see more relevant search results” or “use many

11 Google services when you’re signed out” (in which case Google still receives data but it is not

12 associated with an Account)). These examples each necessitate the communication of data to Google

13 and illustrate that “private” cannot reasonably be construed to mean absolute privacy from Google.

14 Similarly, it would be unjust to allow Google to be held liable for indisputably accurate statements

15 simply because Plaintiffs allege they inferred from them something other than what they say.10

16           Finally, Plaintiffs imply the alleged promise based on their selective quotations of internal
17 documents. That effort fails because Plaintiffs do not claim any specific terms are ambiguous, nor

18 do they “tie [their] extrinsic evidence to specific terms,” which is “essential.” Meisner v. JP Morgan

19 Chase Bank, N.A., 2022 WL 837230, at *5 (E.D. Cal. Mar. 21, 2022) (“extrinsic evidence . . . must

20 [] be tethered to specific contractual language”). Even if they had, the documents are not the kind of

21 extrinsic evidence “regarding the drafting, negotiation, and performance of the” contract that courts

22

23   9
        The Privacy Policy “governs the collection of those categories of information identified by
     plaintiffs,” Calhoun, 2022 WL 18107184, at *10, while the Chrome Notice (and documents linked
24   to the Chrome Notice, like the Chrome Privacy Whitepaper) describe “features that are specific to
     Chrome,” id. at *4, like Incognito mode. A statement in Google’s general privacy policy that
25   Incognito mode is one way users can manage their privacy therefore cannot override the Chrome
     Notice’s specific explanation of how Incognito works.
26   10
        For example, Plaintiffs should not be permitted to hold Google liable for the Chrome Notice’s
27   statement that “You can limit the information Chrome stores on your system using incognito or guest
     mode,” Opp. 13 (emphasis added), because it it is undisputed that Incognito does limit the
28   information stored on users’ systems, SUF 78, 81.

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 1 may consider. See Travelers Indemnity Co. of Connecticut v. Premier Organics, Inc., 2017 WL

 2 4355043, at *3 (N.D. Cal. Sept. 29, 2017) (Gonzalez Rogers, J.).

 3                           (b)     Plaintiffs Base their Contract Claim on Non-Contractual Documents
 4            Plaintiffs’ contract claim should also be dismissed to the extent it is based on documents that
 5 are not contractual as a matter of law.11 These include the Incognito Screen, the Search & browse

 6 privately Help page, and the post-March 2020 Privacy Policy.

 7            The Incognito Screen: Plaintiffs claim the Incognito Screen is “incorporated by reference”
 8 in the Chrome Notice because the Chrome Notice references “Incognito mode.” Opp. 7. That is not

 9 the law. The incorporation by reference doctrine requires, inter alia, that the reference to the

10 incorporated document—and the fact that it is incorporated—be clear and unequivocal.”12 Shaw v.

11 Regents of Univ. of Cal., 58 Cal. App. 4th 44, 54 (1997) (emphasis added); In re Facebook, Inc.,

12 Consumer Priv. User Profile Litig., 402 F. Supp. 3d 767, 791 (N.D. Cal. 2019) (“the reference to

13 the document [must] be unequivocal”). Indeed, even if the external document is “mention[ed]” in

14 the contract, that “is not the same as specifically directing the parties’ attention to the terms of the

15 external document in a manner that could be construed as eliciting the parties’ consent to its separate

16 terms.” Amtower v. Photon Dynamics, Inc., 158 Cal. App. 4th 1608 (2008). Here, the alleged

17 contract does not even “mention” the Incognito Screen. It mentions only the mode itself.

18            The Search & browse privately Help page: The Help page is not a standalone contract. See
19 Rodriguez v. Google LLC, 2022 WL 214552, at *3 (N.D. Cal. Jan. 25, 2022) (Google Help page is

20 not a standalone contract). Nor is it incorporated in the contract merely because it is hyperlinked to

21 the post-May 2018 versions of the Privacy Policy. Chief Judge Seeborg correctly rejected this

22 argument when Plaintiffs’ counsel made it in Rodriguez v. Google LLC, 2021 WL 6621070, at *4

23   11
        Plaintiffs’ alleged “contract” consists of three documents: the general TOS, the Chrome TOS, and
24   the Chrome Notice. SUF 15. Plaintiffs allege these documents incorporate the Privacy Policy, the
     Search & browse privately Help page, and the Incognito Screen. Id.
25   12
        Plaintiffs read too much into Shaw’s use of the word “guide.” That decision held that the parties’
     agreement incorporated the University’s Patent Policy because: “The patent Agreement (1) directs
26   Shaw to ‘Please read the Patent Policy on reverse side and above,’ and (2) states that, in signing the
27   patent agreement, Shaw is ‘not waiving any rights to a percentage of royalty payments received by
     University, as set forth in University Policy Regarding Patents.” 58 Cal. App. 4th at 54 (emphasis
28   added). This is the type of “clear and unequivocal” reference California law requires.

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 1 (N.D. Cal. Aug. 18, 2021) (“mere fact of a hyperlink” does not satisfy incorporation by reference

 2 doctrine).

 3            The Post-March 2020 Privacy Policy: Nor can Plaintiffs support their contract claim with the
 4 Privacy Policy in effect when they filed suit. By then, “Google’s Terms of Service explicitly

 5 excluded Google’s Privacy Policy.” Calhoun, 526 F. Supp. 605, 621 (N.D. Cal. 2021).

 6                           (c)     Plaintiffs Rely on Statements that Are Not Enforceable “Promises”
 7            Once the contract is properly defined by the Court (supra § II.C.1(b)), Plaintiffs are left to
 8 base their claim only upon the Privacy Policies in effect from June 2018–March 2020, and the

 9 Chrome Notice. But even the cited statements therein (see Opp. 13) are not enforceable “promises,”

10 because they merely provide “a general description of how [Google’s] system works” and “contain

11 no promissory language.”13 See Block v. eBay, 747 F.3d 1135 (9th Cir. 2014).

12            Plaintiffs argue that “Google errs by relying on cases addressing whether a document
13 amounts to a contract in the first place.” Opp. 13 (citing Mot. 15). That is wrong. The Ninth Circuit’s

14 Block decision—upon which Google primarily relies and which Plaintiffs ignore—analyzed the

15 enforceability of statements in “eBay’s User Agreement,” a generally enforceable contract. Mot. 15–

16 16 (citing Block). Indeed, in holding that the User Agreement clauses at issue were not enforceable,

17 the Ninth Circuit “contrast[ed]” them with “other clauses in the agreement [that] contain explicit

18 promissory language” and were enforceable. 747 F.3d at 1139. Block thus stands for the proposition

19 that, even in a binding consumer agreement, a company can provide information about its products

20 and services without creating contract liability. Id. This reasoning applies to every one of the

21 “promises” Plaintiffs claim Google breached. See Opp. 10–11, 13; see also Mot. 7–8, 12–16.

22                   2.      Federal Wiretap Act Interception Claim (Count 1)
23                           (a)     Website Developers’ Consent Defeats the Federal Wiretap Claims
24            The record confirms that websites consented to the at-issue data collection by installing
25 Google’s scripts for the purpose of sending the data to Google to provide desired services.

26 SUF 90–97, 100–01. Neither of Plaintiffs’ responses (Opp. 15–16) creates a triable issue.

27   13
     The same is true of the statements Plaintiffs cite in Search & browse privately page, and the
28 Incognito Screen, in the event the Court finds those documents are contractual.
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 1            First, Plaintiffs can no longer rely on their pleadings. Discovery has shown that developers
 2 consented to the data collection regardless of browsing mode. SUF 92. Dr. Zervas analyzed

 3 information available to website developers (many of whom test their sites in PBM) and concluded

 4 that they incorporate Google’s code knowing it functions the same in PBM. Ex. 80 ¶¶ 48–49. Among

 5 other examples, Google’s public documentation for Analytics explains that “instances of incognito

 6 and private browsing[] are counted” in Analytics reports. Id. ¶ 95. Consistent with this evidence, the

 7 25 web domains with the highest Google Analytics and Ad Manager traffic “all provided notices to

 8 users about data collection” that (1) display regardless of whether the user is in PBM, (2) often

 9 “includ[e] specific references to [use of] Google’s services,” and (3) do “not indicate or suggest that

10 this data collection would stop when a user browses in [PBM].” Id. ¶¶ 85–89. In addition, Plaintiffs’

11 experts and counsel continue using Google services on their own sites fully aware that the services

12 function in PBM. SUF 92. They cannot create a triable issue as to developer consent on this record.14

13            Second, Plaintiffs’ argument (Opp. 16) that Google represented it would comply with its own
14 Privacy Policy is not evidence that developers did not consent to the data collection. The Privacy

15 Policy has never represented that PBM blocks the data collection described therein.

16 Supra § II.C.1(a), iii. And even if a user wrongly interpreted the Privacy Policy in the manner

17 alleged, that is insufficient to negate the independent consent of web developers. See Rodriguez v.

18 Google LLC, 2021 WL 2026726, at *5 (N.D. Cal. May 21, 2021) (rejecting identical argument).

19          Plaintiffs’ invocation of the crime-tort exception (Opp. 16) is meritless. As Chief Judge
20 Seeborg reaffirmed just this month, “the crime-tort exception[] require[s] . . . sufficient facts to show

21 that ‘the primary motivation or a determining factor in the interceptor’s actions has been to injure

22 plaintiffs tortiously,’” and “does not apply to a case such as this, where Defendant’s ‘purpose has

23 plainly not been to perpetuate torts on millions of Internet users, but to make money.’” Katz-Lacabe

24
     14
      Plaintiffs’ claim that Google’s evidence is “disputed” are illusory. See SUF 92. Messrs. Keegan
25 and Hochman claim to have learned of the collection at issue through this case, but Mr. Keegan
   plainly consented anyway, Ex. 58 224:23–226:10, and Mr. Hochman admits that “I am a Google
26 Analytics and Google Ads customer, and Google has not provided me with an option to ensure that

27 its tracking and advertising code would avoid collecting data from private browsing sessions,” Ex.
   77 ¶ 136; see also id. App’x A ¶¶ 20–22 (Google’s disclosures to website developers identify data
28 collected “generally” and do not exclude private browsing data).
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 1 v. Oracle Am., Inc., 2023 WL 2838118, at *10 (N.D. Cal. Apr. 6, 2023) (quoting Rodriguez, 2021

 2 WL 2026726, at *6 n.8); see also Mot. 17 n.15 (collecting cases). Plaintiffs proffer no evidence that

 3 Google’s “primary motivation” was to injure them. And their allegation that Google “intercepted

 4 [their communications] for the purpose of associating their data with user profiles”—the only basis

 5 for Judge Koh’s application of the crime-tort exception at the pleading stage, Dkt. 113 at 20, 22–23—

 6 has been thoroughly debunked.15 See SUF 65–66.

 7                          (b)    The Ordinary Course of Business Exception Applies
 8            It is undisputed that Google code installed by website developers is the “device” causing
 9 users’ browsers to send data to Google. SUF 91. Nor is there a genuine dispute that Google uses this

10 code to provide ads and analytics services to websites choosing to use them—core components of

11 Google’s business. SUF 90, 93–97. That alone defeats their Wiretap claims. See Mot. 18–19.

12            Plaintiffs attack a strawman in arguing that Google has failed to demonstrate that “users
13 would be unable to visit non-Google websites but for” the at-issue code. Opp. 17–18. That is not

14 Google’s argument, nor is it the law. Google need only show “some nexus between the need to

15 engage in the alleged interception and the [defendant’s] ultimate business.” Matera v. Google Inc.,

16 2016 WL 8200619, at *14 (N.D. Cal. Aug. 12, 2016). That nexus is plainly present here.

17            Plaintiffs’ alternative arguments are equally unavailing. The purported “evidence that
18 Google uses the data for its own enrichment . . . separate and apart from any services it provides to

19 websites,” Opp. 18, actually shows that Google uses the data to enhance those same services. See

20 PAF 26–27. Improving the services for which it collects the data in the first place—a practice Google

21 discloses, e.g., Ex. 93 at -22; see also Calhoun, 2022 WL 18107184, at *3–4 (quoting Privacy

22 Policy)—is undeniably part of the ordinary course of its business.16

23
     15
24      Plaintiffs’ reliance on Judge van Keulen’s sanctions orders, which they brazenly mischaracterize,
     is also misplaced. The orders did not sanction Google for “hid[ing] how it uses private browsing
25   data,” see PAF 4, and expressly rejected Plaintiffs’ request for an adverse inference. See Dkt. 898 at
     12 (ruling the record “does not support an inference that the late-disclosed information was
26   unfavorable to Google”).
     16
27      See Hammerling v. Google LLC, 2022 WL 17365255, at *9 n.13 (N.D. Cal. Dec. 1, 2022) (“The
     provision of new, improved, and more personalized services is fundamentally compatible with, and
28   largely indistinguishable from, Google’s ‘commercial purposes.’”).

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                             (c)    There Is No Evidence that Google Intercepted the “Contents” of
 1
                                    Plaintiffs’ Communications
 2            Plaintiffs’ contention that “the specific webpage being viewed” and “other minute user
 3 interactions” are the “contents” of communications, Opp. 18, flatly ignores the Ninth Circuit’s

 4 decision in In re Zynga Privacy Litigation, which holds that “HTTP referer information” including

 5 the “address [that] identifies the location of a webpage a user is viewing” is not “content.” 750 F.3d

 6 1098, 1105, 1107, 1109 (9th Cir. 2014). Nor are “minute user interactions” like keystrokes, mouse

 7 clicks, visit duration, and similar data.17 See Mot. 20 & n.18 (collecting authority).

 8            Although it may be true that “[u]nder some circumstances, a user’s request to a search engine
 9 for specific information could constitute a communication,” Zynga, 750 F.3d at 1108, Plaintiffs

10 proffer no evidence that Google collected search terms from them in PBM. The URL containing

11 search terms in Plaintiffs’ brief (Opp. 19) was generated for litigation by Plaintiffs’ expert. PAF 34.

12 The other URLs Plaintiffs cite were likewise generated under experimental conditions, and captured

13 on Plaintiffs’ browsers rather than from Google’s servers. PAF 33. None is a basis for liability.

14                   3.      Cal. Penal Code §§ 631 & 632 (“CIPA”) (Count 2)
15            Plaintiffs’ failure to offer evidence that Google collected the “content” of their
16 communications is similarly fatal to their CIPA § 631 claim. See Mot. 20. And their § 632 claim

17 fails because they do not identify any evidence that their “communications” were confidential within

18 CIPA’s definition. Plaintiffs quote the first half of the definition of “confidential communication,”

19 Opp. 20, but conspicuously omit the second, which “excludes a communication made . . . in any []

20 circumstance in which the parties to the communication may reasonably expect that the

21 communication may be overheard or recorded.” Cal. Penal Code § 632(c). That exclusion is

22 dispositive—Plaintiffs admit they knew their browsing activity would be visible to third parties.

23
     17
24      In arguing that URLs constitute “content,” Plaintiffs resort to mischaracterizing authority. See
     Opp. 19. The Ninth Circuit expressly held that United States v. Forrester, 512 F.3d 500, 510 n.6 (9th
25   Cir. 2008) does not support classifying URLs as “content.” Zynga, 750 F.3d at 1108. In In re Google
     RTB Consumer Privacy Litigation, this Court held (at the pleading stage) that plaintiffs sufficiently
26   alleged content not based on URLs alone, but rather in combination with at least six other data
27   categories. 606 F. Supp. 3d 935, 949 (N.D. Cal. 2022) (Gonzalez Rogers, J.). And the court in In re
     Meta Pixel Healthcare Litigation held only that URLs may be content when they contain “the query
28   string” (i.e., search terms). 2022 WL 17869218, at *11 & n.10 (N.D. Cal. Dec. 22, 2022).

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 1 SUF 98. It is immaterial that they allegedly did not expect Google to be among them. Rodriguez,

 2 2021 WL 2026726, at *7 (expectation that Google would not record communications “does not

 3 reasonably give rise to the expectation that nobody (including [] developers) would”).

 4                   4.     California Penal Code § 502(c)(2) (“CDAFA”) (Count 3)
 5            Plaintiffs proffer no evidence that Google “accessed” their computers or did so “without
 6 permission,” the core of a CDAFA violation. Developers choose to include the at-issue code as a

 7 component of their own websites, and browsers receive that code only after requesting the sites’ full

 8 HTML code. SUF 90–97, 100–01; PAF 29. Plaintiffs cite no case applying CDAFA to that process,

 9 and no wonder: their interpretation would criminalize fundamental internet transmissions. See Mot.

10 22. Separately, CDAFA requires that the defendant “circumvent[] technical or code-based barriers,”

11 or otherwise “render ineffective any barriers . . . to prevent access.” Brodsky v. Apple Inc., 2019 WL

12 4141936, at *9 (N.D. Cal. Aug. 30, 2019). It is undisputed that PBM is no such barrier, see SUF 68–

13 72, and Plaintiffs’ only contrary argument is contractual, not technical. See Facebook, Inc. v. Power

14 Ventures, Inc., 2010 WL 3291750, at *11 (N.D. Cal. July 20, 2010) (plaintiff cannot show “access

15 . . . without permission simply because [defendant allegedly] violated a contractual term of use”).

16            Nor do Plaintiffs identify evidence of “damage or loss.” They cannot meet CDAFA’s
17 “narrow conception of ‘loss’” based on the theoretical value of data that “they might have received

18 from commodifying” it. Andrews v. Sirius XM Radio Inc., 932 F.3d 1253, 1262 (9th Cir. 2019); see

19 also Mot. 22–23 (collecting cases).18 Plaintiffs mistakenly rely (Opp. 21-22) on Facebook Tracking,

20 which held only that allegations of unjust enrichment were sufficient at the pleading stage to confer

21 standing under the facts alleged in that case, not to support liability. 956 F.3d at 600–01; see also

22 Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1038 (N.D. Cal. 2014) (“The requirements to allege

23 standing are not the same as the requirements to plead injury under the substantive law.”).

24

25

26
     18
27   Andrews concerned a claim under CFAA, CDAFA’s federal equivalent. Apart from CFAA’s
   $5,000 minimum damages requirement, the CFAA and CDAFA analyses are materially identical.
28 See Nowak v. Xapo, Inc., 2020 WL 6822888, at *5 (N.D. Cal. Nov. 20, 2020).
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 1                 5.      Invasion of Privacy and Intrusion Upon Seclusion (Counts 4 and 5)
 2          Plaintiffs fail to raise genuine disputes on either element of their privacy claims—(1) a
 3 reasonable expectation of privacy, and (2) a highly offensive intrusion. Facebook Tracking, 956 F.3d

 4 at 601. First, the at-issue data was “private” because Google undisputedly did not link it to their

 5 identities. SUF 62–67. Any expectation of additional privacy beyond that specifically described in

 6 Google’s disclosures was unreasonable. See Sanchez v. L.A. Dep’t of Transp., 2021 WL 1220690,

 7 at *3 (C.D. Cal. Feb. 23, 2021) (no reasonable expectation of privacy in unidentified data even if de-

 8 anonymization is possible); Mot. 23 n.22. Plaintiffs’ claim that Facebook Tracking “soundly

 9 rejected” this argument (Opp. 22) is wrong because, unlike Google, Facebook allegedly made

10 “affirmative statements that it would not receive information from third-party websites after users

11 had logged out” and then “correlat[ed] users’ browsing history with [their] personal Facebook

12 profiles.” 956 F.3d at 599, 602–03.

13          Second, Plaintiffs cannot show that Google’s data collection and use was “highly offensive.”
14 Courts routinely reject privacy claims based on browsing and similar data because such “routine

15 commercial behavior” is not highly offensive as a matter of law. See Mot. 23–24 & n.23 (collecting

16 cases). That is particularly true where, as here, the data is unidentified. See Hammerling v. Google

17 LLC, 615 F. Supp. 3d 1069, 1091 & n.11 (N.D. Cal. 2022) (alleged intrusion not “highly offensive”

18 where information was anonymized). Plaintiffs argue the conduct is offensive because Google

19 purportedly “knew it was deceiving users.” Opp. 23. But the cited evidence does not support this

20 conclusion. PAF 7, 12. Plaintiffs’ decision to continue subjecting themselves to the alleged harm

21 also precludes a finding of highly offensive conduct, notwithstanding their convenient “explanation”

22 that they took no additional precautions because they are “in the middle of a lawsuit.” SUF 105.

23                 6.      Unfair Competition Law (“UCL”) (Count 7)
24                         (a)    Plaintiffs Fail to Establish UCL Standing
25          Plaintiffs’ UCL claim should be dismissed because they fail to show they “lost money or
26 property.” Cal. Bus. & Prof. Code § 17204; Mot. 24–25. Plaintiffs’ assertion that “there is a ‘cash

27 value’ for data and ‘an active market for data’” (Opp. 24), is neither sufficient nor supported by the

28
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 1 evidence. Under that theory, Plaintiffs would need to show not only that there exists a market for the

 2 data, but also an impairment of their ability to participate in the market. Ji v. Naver Corp., 2022 WL

 3 4624898, at *9 (N.D. Cal. Sept. 30, 2022). They show neither.19 SUF 104; see also Moore v.

 4 Centrelake Med. Grp., Inc., 83 Cal. App. 5th 515, 538 (2022) (dismissing UCL claim because

 5 plaintiffs “did not allege they ever attempted or intended to . . . derive economic value from their

 6 PII” or that a “prospective purchaser of their PII . . . might insist on less favorable terms” due to

 7 defendant’s conduct); Facebook User Profile Litig., 402 F. Supp. 3d at 803–04 (“that Facebook may

 8 have gained money through its sharing or use of the plaintiffs’ information…[is] different from

 9 saying the plaintiffs lost money”). Plaintiffs’ assertion that their UCL standing arguments are

10 “neither new nor novel” and are part of a “growing trend,” Opp. 24 n.25, is simply wrong.20

11                           (b)     Plaintiffs Have an Adequate Remedy at Law
12            The law is clear that a party’s assertion of legal claims—e.g., breach of contract—bars a
13 UCL claim for equitable relief. Mot. 25 & n.26 (citing authority). Plaintiffs fail to grapple with that

14 authority and misapprehend the key question, arguing that “[m]onetary damages would only address

15 Google’s past conduct.” Opp. 25. That argument has been consistently rejected. See Mot. 25 & n.25;

16 In re MacBook Keyboard Litigation, 2020 WL 6047253, at *3 (N.D. Cal. Oct. 13, 2020) (fact that

17 alleged injury is “continuing” does not mean legal remedy is inadequate).

18 III.       CONCLUSION
19            For the foregoing reasons, summary judgment should be granted.
20

21

22

23   19
        The only evidence Plaintiffs’ cite relates to (1) the value of private browsing data to Google or
24   other digital advertisers, see, e.g., Mao Ex. 25 § 7 (discussing financial impact to Google), Broome
     Ex. 75 § 4 (discussing online advertising revenue); (2) the value of different data to study
25   participants, Mao Ex. 25 § 8 (discussing payments for participation in a panel that collects a wide
     range of data linked to the participant’s identity); or (3) Plaintiffs’ awareness of marketplaces for
26   some types of browsing data which Plaintiffs never participated in, Mao Exs. 3–7.
     20
27      To the contrary, “[t]he weight of the authority in the district and the state . . . point in the opposite
     direction [of Calhoun]: that ‘the “mere misappropriation of personal information” does not establish
28   compensable damages.’” Katz-Lacabe, 2023 WL 2838118, at *8 (Seeborg, C.J.) (collecting cases).

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     DATED: April 26, 2023
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